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                     Exhibit C
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                          DECLARATION OF SUSAN G. ZIEGLER



         Now comes declarant Susan G. Ziegler, and, under penalty of perjury, states as

 follows:

         1.     I am over the age of 18 and fully competent to testify to the statements and

 facts contained herein, and I have personal knowledge of all of them.

         2.     I am a resident and elector of the State of Ohio.

         3.     I am a Professor Emerita at Cleveland State University. My professional degree

 is an Ed.D.

         4.     Following my retirement as an active professor, I became a regular volunteer at

 a hospice organization where I have worked 6 to 8 hours a week for the past 10 years. At the

 hospice’s Lorain County facility, I perform a wide variety of functions, including triaging

 phone calls, writing grants, answering phones, and doing data entry. At one of the

 organization’s residential facilities, I work at the front desk, where I am the first person to

 welcome new patients, and I also work with patients’ families and make visits to patients in

 their rooms. In addition, I teach courses and workshops for the hospice organization. I am

 passionate about doing this work.

         5.     I am strongly in support of the ballot initiative proposed by Ohioans for Fair

 and Secure Elections. I want to expand and protect voting rights in our state. I’ve been

 following the progress of this campaign, and understand that petitions will be circulated

 shortly to place the initiative on the ballot this November. It’s been my intention to sign a

 petition.
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        6.       I do understand that there is litigation going on over this ballot initiative in

 Ohio’s Supreme Court, and there is some risk that the initiative could be divided up into four

 parts. But regardless of what happens in that case, I would work to support any part or all parts

 of the initiative, because I believe that voting rights in Ohio need to be expanded beyond what

 they are now.

        7.       In the face of the coronavirus pandemic, however, I am forced to severely limit

 all contact with others outside my household. I’m following official orders and public health

 advice to stay at home. As a result, very regrettably, beginning two weeks ago I had to take an

 indefinite leave of absence from my volunteer work at hospice. It deeply saddens me to have

 to abandon this important work, but I understand that it would be unsafe for me to leave my

 home. I feel it is my responsibility to do my part in “flattening the curve” so, even if I have to

 venture out, I avoid coming within 6 feet of others.

        8.       I see no way that I will be able to safely physically sign a petition for the ballot

 issue. I am not willing to disregard public health recommendations and come within 6 feet of a

 non-household person. I feel it would be ill-advised to touch a petition circulator’s pen or

 paper even with the proverbial a ten-foot pole.
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        9.      So while I sincerely wish I could support the ballot issue by signing its petition,

 I don’t see how it will be possible. If it were possible to sign the petition online, or by other

 means that would not risk anyone’s health (mine or the circulators), I would do so.


         I declare under penalty of perjury that the foregoing is true and accurate.

Executed on April 29, 2020

/s/ Susan G. Ziegler

Susan G. Ziegler




I, Freda J. Levenson, certify that I reviewed the information contained in this declaration with

Susan G. Ziegler by telephone on March 28, 2020, and that at that time, she certified that the

information contained in this declaration was true and accurate to the best of her knowledge.

Executed on April 29, 2020.

                                               ________________________
                                               Freda J. Levenson
                                               American Civil Liberties Union Foundation of Ohio
                                               4506 Chester Ave
                                               Cleveland, OH 44103
                                               (614) 568-1958
                                               flevenson@acluohio.org
